     Case 8:19-cv-01212-FLA-JDE Document 55 Filed 04/30/21 Page 1 of 2 Page ID #:288


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      Attorneys for defendant Yuri Vanetik
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7
8                              UNITED STATES DISTRICT COURT
9                            CENTRAL DISTRICT OF CALIFORNIA
10
11     PAVEL FUKS, an individual,                  Case No. 8:19-cv-1212-FLA (JDEx)
12                             Plaintiff,
                                                   DEFENDANT YURI VANETIK’S
13                 v.                              WITNESS LIST
14
                                                   [LOCAL RULE 16-5]
15     YURI VANETIK, an individual,
16                             Defendant.
17                                                TRIAL: 6/8/21
                                                  TIME: 8:30
18
                                                  CTRM: 6B
19
20
21
22
23        Witness’s                                      Time for   Time for
        Name*, Title,     Summary of Testimony /          Direct     Cross    Dates of
24      Affiliation (If   Why Testimony Is Unique         Exam       Exam    Testimony
25        Relevant)                                      (hours)    (hours)
      Yuri Vanetik,       Will testify concerning his
26    defendant           work for the plaintiff and
                          that plaintiff owes him
27                                                        4 hours   2-3 hours
                          money. Also, about the
                          program set up for the
28                        plaintiff. Also, plaintiff

                                                  -1-
     Case 8:19-cv-01212-FLA-JDE Document 55 Filed 04/30/21 Page 2 of 2 Page ID #:289



1                       threats and refusal to
                        cooperate when he arrived
2                       for the program.
3     Aksana            Will testify that plaintiff did
4     Cherniavskaya     not communicate and the
5                       program she partially
                                                          1.5            .5-1
6                       prepared for plaintiff. Will
7                       testify re threats plaintiff
8                       made
9     Matt Keelen       Will testify regarding the
10                      parts of the program he put
11                      together for plaintiff. Will      2                2
12                      testify regarding his
13                      interaction with the plaintiff.
14    Sayhan Agiev      Will testify that plaintiff
15                      owes defendant money.
                                                          1.5              1
16                      Also, the threats plaintiff
17                      made against defendant.
18    Eric Rogers       Will testify regarding the
19                      program he worked on for
                                                          1                1
20                      plaintiff and his inability to
21                      communicate with plaintiff.
22
23    DATED: April 30, 2021                               Respectfully submitted,
                                                          HAMILTON LAW OFFICES
24
25                                                        /s/John M. Hamilton
                                                          John M. Hamilton
26                                                        Attorneys for Defendant Yuri Vanetik
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